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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                         MDL No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

  This Document Relates To All Cases




    NOTICE OF MOTION TO STRIKE THE PLAINTIFFS’ STEERING
     COMMITTEE’S SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
       OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE
    PLAINTIFFS’ EXPERTS’ GENERAL CAUSATION OPINIONS AND
                 AFFIDAVIT OF DR. DAVID MUTCH

      PLEASE TAKE NOTICE that on October 21, 2024, the undersigned

counsel will bring Defendants Johnson & Johnson and LLT Management, LLC

(“Defendants”)’s   Motion    to    Strike   the   Plaintiff’s   Steering   Committee’s

Supplemental Brief in Support of Its Opposition to Defendants’ Motion to Exclude

Plaintiffs’ Experts’ General Causation Opinions and Affidavit of Dr. David Mutch.

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

   Defendants shall rely upon the Brief submitted herewith and the Declaration of

   Susan M. Sharko, Esq., together with exhibits; and

      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted
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   herewith; and

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.



  Dated: September 20, 2024           Respectfully submitted,

                                      /s/ Susan M. Sharko
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